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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                     LONDON


DERIC LOSTUTTER, et al.                    )
                                           )
             Plaintiff,                    )
                                           )       Civil No. 6:18-cv-277-KKC
      v.                                   )
                                           )
COMMONWEALTH OF                            )
KENTUCKY, et al.                           )
                                           )
             Defendants.                   )
                                           )

                                           ORDER

      This matter is before the Court on Plaintiffs’ Motion To Dismiss Plaintiffs Harbin, Comer,

and Fox’s Claims As Moot. IT IS ORDERED that Plaintiffs’ Motion To Dismiss Plaintiffs

Harbin, Comer, and Fox’s Claims As Moot is GRANTED.


      Plaintiffs Harbin, Comer, and Fox’s claims are hereby DISMISSED as moot.


       DATED: March 13, 2020




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